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                                                         August 5, 2021

   BY ECF and E-MAIL

   The Honorable Ann M. Donnelly
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   RE:    United States v. Robert Kelly
          Criminal Docket No.: 19-286 (AMD)
          Requesting Order for CJA Funds for Transcripts

   Dear Judge Donnelly:

           During the pre-trial conference on August 3, 2021, the defense made an application
   to the Court for the defendant to be provided with daily copies of the trial transcript
   pursuant to the provisions of the Criminal Justice Act (“CJA”), 18 U.S.C. § 3006 A. I am
   writing to respectfully request that the Court “So Order” this letter to authorize the use of
   the above listed services for jury selection and trial testimony. As the defense set forth
   during the conference, Mr. Kelly is financially unable to obtain the transcripts and the
   transcripts are necessary for his defense. The Order is needed to facilitate the process of
   submitting the order for the transcripts through the Eastern District CJA office and the CJA
   electronic system (“eVoucher”).


                                                         Respectfully submitted,

                                                                 /s/

                                                         Calvin H. Scholar


   CHS/jb

   cc:    All Counsel, by ECF and E-MAIL
